          Case 2:16-cv-02941-RFB-NJK Document 157 Filed 02/12/20 Page 1 of 5



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 6                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 7   MUSTAFA YOUSIF AND SHARONE
     WALKER on behalf of themselves and all
 8
     others similarly situated,                 Case ft 2:16-cv-02941-RFB-NJK
 9
10                                                          VERIFIED PETITION FOR
                       Plaintiff(s),                        PERMISSION TO PRACTICE
11                                                          IN THIS CASE ONLY BY
           vs.                                              ATTORNEY NOT ADMITTED
12   THE VENETIAN CASINO RESORT,                            TO THE BAR OF THIS COURT
     LLC; LAS VEGAS SANDS CORP., AND                        AND DESIGNATION OF
13
     DOES 1 through 50, inclusive,                          LOCAL COUNSEL
14
                       Defendant(s).                         FILING FEE IS $250.00
15
16
                       Brian Scott Kaplan         , Petitioner, respectfully represents to the Court:
17
                       (name of petitioner)
18           1.        That Petitioner is an attorney at law and a member of the law firm of
19                                              DLA Piper LLP (US)
20                                                (firm name)
     with offices at                      1251 Avenue of the Americas, 27th Floor
21
                                                     (street address)
22                      New York                                   New York                 , 10020
                          (city)                                    (state)                    (zip code)
23
               212-335-4500                        brian.kaplan@us.d I apiper.com
24    (area code + telephone number)                      (Email address)
25          2.         That Petitioner has been retained personally or as a member of the law firm by
26      The Venetian Casino Resort, LLC                  to provide legal representation in connection with
                  [client(s)]
27
     the above-entitled case now pending before this Court.
28
                                                                                                           Rev. 5/16




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          Case 2:16-cv-02941-RFB-NJK Document 157 Filed 02/12/20 Page 2 of 5



 1           3.       That since       May 1, 1995           , Petitioner has been and presently is a
                                            (date)
 2   member in good standing of the bar of the highest Court of the State of             New York
 3                                                                                         (state)
     where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
 4   from the clerk of the supreme court or highest admitting court of each state, territory, or insular
 5   possession of the United States in which the applicant has been admitted to practice law certifying
 6   the applicant's membership therein is in good standing.
 7          4.        That Petitioner was admitted to practice before the following United States District
 8   Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
 9   of other States on the dates indicated for each, and that Petitioner is presently a member in good
10   standing of the bars of said Courts.
11                           Court                             Date Admitted             Bar Number
12   See Exhibit B
13

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            5.       That there are or have been no disciplinary proceedings instituted against petitioner,
20
     nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
21
     or administrative body, or any resignation or termination in order to avoid disciplinary or
22
     disbarment proceedings, except as described in detail below:
23
     (State "none" if Petitioner has no disciplinary proceedings, etc.)
24   None.
25

26

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28                                                    2                                                  Rev. 5/16




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           Case 2:16-cv-02941-RFB-NJK Document 157 Filed 02/12/20 Page 3 of 5



 1           6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give
 2   particulars if ever denied admission):
 3   (State "none" if Petitioner has never been denied admission.)
     None.
 4
 5
 6            7.      That Petitioner is a member of good standing in the following Bar Associations.
 7   (State "none" if Petitioner is not a member of other Bar Associations.)
      None.
 8
 9
10           8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2
11   (formerly LR IA 10-2) during   the past three (3) years in the following matters: (State "none" if no applications.)
12   Date of Application                 Cause                          Title of Court                 Was Application
                                                                      Administrative Body                Granted or
13                                                                      or Arbitrator                      Denied
14
                                    Kennedy v. Las            U.S. District Court,
15                                  Vegas Sands Corp.         District of Nevada                         Pending
16                                  (No. 2:17-cv-00880)
17

18
19                      (If necessary, please attach a statement of additional applications)
20           9.      Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
21   State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
22   extent as a member of the State Bar of Nevada.
23           10.     Petitioner agrees to comply with the standards of professional conduct required of
24   the members of the bar of this court.
25           11.      Petitioner has disclosed in writing to the client that the applicant is not admitted to
26   practice in this jurisdiction and that the client has consented to such representation.
27
28                                                            3                                                     Rev. 5/16




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Case 2:16-cv-02941-RFB-NJK Document 157 Filed 02/12/20 Page 4 of 5
Case 2:16-cv-02941-RFB-NJK Document 157 Filed 02/12/20 Page 5 of 5
